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the sanctions that could be imposed were unlikely to induce the three
companies to abandon their investments because the companies were
insulated from any practical negative impact of the sanctions.”

Targeted Financial The U.S. government has taken actions against Iran using targeted
Sanctions Freeze Assets of _ financial sanctions that can be used against any party that engages in
Parties Involved in certain proliferation or terrorism activities.” In June 2005, the President

“pgs issued Executive Order 13382 to freeze the assets of persons engaged in
Prolifer ation and proliferation of WMD and members of their support networks.” This
Terrorism-Related action followed the issuance in September 2001 of Executive Order 13224
Activities to freeze the assets of persons who commit, threaten to commit, or
support terrorism.” Executive Orders 13382 and 13224 were both issued
under the authority of the International Economic Emergency Powers Act
(IEEPA).” Persons targeted under these financial sanctions are said to be
“designated” as either WMD proliferators or global terrorists, depending
on which set of sanctions is employed, and any transactions with them by
U.S. persons are prohibited.” According to Treasury, the goal of this
action is to deny sanctioned parties’ access to the U.S. financial and

“For example, the report stated that Petronas had only limited connections to the United
States and Total had divested many of its U.S. assets prior to entering into the South Pars
contract.

“In addition to these financial sanctions, other broad sanction tools available for use
against any violating party, including Iran, include Executive Order 12938, which targets
proliferation of WMD. Exec. Order No. 12938, 59 Fed. Reg. 58,099 (Nov. 14, 1994). Since
1998, this order has been used to impose sanctions against multiple parties that have
engaged in proliferation activities related to Iran's nuclear or missile programs.

“Exec. Order No. 13382, 70 Fed. Reg. 38,567 (June 28, 2005).
*Bxec. Order No. 13224, 66 Fed. Reg. 49,079 (Sept. 23, 2001).

*Pub. L. No. 95-233, Title II, 91 Stat. 1625 (1977) (codified at 50 U.S.C. § 1701 et seq). IEEPA
grants certain authorities to the President to deal with unusual and extraordinary threats if
the President declares a national emergency with respect to such threat. For example,
under IEEPA, the President may prohibit transactions involving any property in which a
foreign country or national thereof has any interest by any person subject to the
jurisdiction of the United States.

“74 U.S. person is defined as any United States citizen or national or permanent resident
alien anywhere in the world; entity organized under the laws of the United States or any
jurisdiction within the United States (including foreign branches); or any person in the
United States.

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commercial systems. Treasury or State can make designations under these
financial sanctions, which are published in the Federal Register.”

As of October 25, 2007, 53 of the 70 parties designated under the
nonproliferation financial sanctions were tied to Iranian proliferation
activities. Of these 53 parties, 48 were either Iranian entities or overseas
subsidiaries of Iranian banks, 4 were Chinese, and 1 was American.
Several designations have been made in recent months. For example, in
June 2007, Treasury designated four Iranian companies for their role in
Iran’s proliferation of WMD.* On October 25, 2007, State and Treasury
designated 27 entities or individuals under Executive Order 13382,
including the Islamic Revolutionary Guard Corps (IRGC)® and other
companies or individuals affiliated with the IRGC, the Ministry of Defense
and Armed Forces Logistics, and two Iranian banks, including Bank
Melli—Iran's largest bank.

With regard to the antiterrorism financial sanctions, Treasury was unable
to provide us with data on the number of Iran-related designations
because it does not compile information about the country or countries
with which the designated entities are involved. We were, however, able to
identify instances where antiterrorism financial sanctions were imposed.
For example, on October 25, 2007, under Executive Order 13224, Treasury
designated the IRGC’s Qods Force a supporter of terrorism. According to
Treasury, the Qods Force provides material support to the Taliban,
Lebanese Hizbollah, Hamas, and other terrorist groups. Treasury also
designated Iran's Bank Saderat, which is already subject to financial
restrictions under the trade ban, as a terrorism financier.

“Treasury also posts information on its Web site and publishes designations in its Specially
Designated Nationals (SDN) list. Treasury officials note that U.S. financial institutions use
the SDN list to identify and freeze assets of sanctioned parties.

“The designated entities are Pars Tarash, Farayand Technique, Fajr Industries Group, and
Mizan Machine Manufacturing Group.

“The IRGC is a component of Iran's military. focusing on national security, internal and
border security, and law enforcement.

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U.S. Agencies Have
Not Assessed the
Overall Impact of
Sanctions Targeting
Iran

U.S. officials and experts report that U.S. sanctions are having specific
impacts on Iran; however, the extent of such impacts is difficult to
determine, and agencies have not assessed the overall impact of sanctions.
First, U.S. officials report that U.S. sanctions have slowed foreign
investment in Iran's petroleum sector, which hinders Iran's ability to fund
proliferation and terrorism-related activities. Second, financial sanctions
deny parties involved in Iran’s proliferation and terrorism activities access
to the U.S. financial system and complicate their support for such
activities. Third, U.S. officials have identified broad impacts of sanctions,
such as providing a clear statement of U.S. concermms about Iran. However,
other evidence raises questions about the extent of reported economic
impacts. Since 2003, the Iranian government has signed contracts reported
at approximately $20 billion with foreign firms to develop its energy
resources, though it is uncertain whether these contracts will ultimately be
carried out. In addition, sanctioned Iranian banks may be able to turn to
other financial sources or fund their activities in currencies other than the
U.S. dollar. U.S. and international reports also find that Iran continues
proliferation activities and support for terrorism. Finally, U.S. agencies,
except for Treasury’s assessments of its financial sanctions under
Executive Orders 13382 and 13224, do not assess the impact of sanctions
in helping achieve U.S. objectives nor collect data demonstrating the
direct results of their sanctioning and enforcement actions.

Agencies Report that
Sanctions Have Delayed
Investment in Iran’s
Petroleum Sector and Had
Other Impacts

U.S. Officials State that Iran
Sanctions Act Has Contributed
to Delays in Foreign
Investment in Iran’s Petroleum
Sector

State and Treasury officials report that sanctions have had specific
impacts such as delaying foreign investment in Iran's petroleum sector and
reducing Iran's access to the U.S. financial system. In addition, broad
impacts of sanctions, such as their symbolic value, also have been
recognized.

U.S. officials and experts have stated that U.S. sanctions have played a role
in slowing Iran’s progress in developing its oil and gas resources. The Iran
Sanctions Act is intended to limit investment in Iran's petroleum sector,
with an expectation that curbing such investment would disrupt the
revenue generated by new oil and gas investments and reduce Iran’s ability
to pursue policies that the United States deemed unacceptable. A 2004
State Department report noted that the law had, among other things.
helped delay investment in Iran's petroleum sector.” According to State

“While official data on U.S. investment in Iran are incomplete, available figures indicate
negligible U.S. investment in Iran, even prior to the adoption of the investment ban in 1995.

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Department officials, there have been no new final oil and gas investment
deals in Iran since 2004. Other experts have similarly noted a slowdown in
investment in Iran's oil and gas sectors and have cited statements that
Iranian oil officials had made to that effect. U.S. officials and experts have
also noted that, while the existence of the Iran Sanctions Act and its use as
a tool for dialogue with foreign parties may be a contributing factor to a
slowdown in foreign investment in Iran, Iran's own investment policies”
may be contributing to a reduced flow of investment.

On the other hand, the Department of State has raised concerns about
possible energy deals between Iran and potential foreign investors,
including the reported $16 billion China National Offshore Oil Corporation
deal for the development of Iran’s North Pars gas field. Further, the United
States has expressed concerns about the estimated $4.3 billion preliminary
agreement that Royal Dutch Shell, along with Spain's Repsol, concluded
with the Iranian regime for the construction of a liquefied natural gas plant
at South Pars, the world’s largest natural gas field. Also, Indian firms have
entered into contracts in recent years for the purchase of Iranian gas and
oil. The proposed construction of a pipeline to deliver Iranian natural gas
to India through Pakistan is a project about which the United States has
expressed concerns.

We also found that since 2008 the Iranian government has signed contracts
reported at approximately $20 billion with foreign firms to develop Iran’s
energy resources. It is uncertain whether these contracts will ultimately be
carried out, and at least one has already been withdrawn. However, these
agreements demonstrate foreign firms’ significant interest in financing or
underwriting projects in Iran’s energy sector. (See app. IV for a listing of

“For example, according to the Department of Energy’s Energy Information
Administration (EIA), Iran utilizes buyback contracts, which are arrangements in which the
contractor funds all investments, receives remuneration from the Iranian government in
the form of an allocated production share, then transfers operation of the field to Iran after
a set number of years, at which time the contract is completed. However, according to U.S.
Iran country report, the buyback of 5 to 7 years has not given contractors sufficient time to
recoup their investment costs. Also, according to a State Department report, a number of
other negative elements in addition to the relative difficulty of reaching satisfactory
arrangements affect foreign investment in Iran: prohibitions on foreign ownership of
natural resources. sometimes unappealing financial and other contractual terms, alleged
corruption, and political uncertainty are among the other negative elements.

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U.S. Officials Report that
Financial Sanctions Deny
Entities Involved in
Proliferation and Terrorism
Access to U.S. Financial
System

recent major agreements between Iran and foreign investors in Iran’s
energy sector.)*

State and Treasury officials have testified that financial sanctions deny
designated individuals and entities access to the funds needed to sustain
Iran's proliferation.” For example. in January 2007, the U.S. government
designated Bank Sepah under Executive Order 13382 as a supporter of
WMD proliferation, thereby eliminating its access to the U.S. financial
system and reducing its ability to conduct dollar transactions.” Further,
U.S. financial sanctions also have reportedly disrupted Iran's support for
terrorism. U.S. officials report that the United States has disrupted
Hizbollah’s financial support network by reducing the ability of Iranian
banks to interact with the U.S. financial system. For example, in
September 2006, Treasury altered the trade ban regulations to cut off Bank
Saderat, Iran's second largest state-owned bank, from dollar transactions
due to its support for terrorism.” Treasury officials reported that Iran used
Bank Saderat to move millions of dollars to terrorist organizations such as
Hizbollah, Hamas, and the Palestinian Islamic Jihad. This action
complicated the bank's financial transactions and alerted the world’s
financial community to Bank Saderat’s role in funding terrorism.

However, Iran may be able to find alternative financial sources or fund its
activities in currencies other than the dollar. Treasury officials have noted
that sanctioned parties often find “workarounds” to lessen the sanctions
imypact, and other financial options can be used.” For example, sanctioned
Iranian banks may turn to euro or other currency transactions to support

3 recent project by the American Enterprise Institute (AED cites 300 companies from 38
countries that, as of May 2007, have, at a minimum, expressed commercial interest to trade,
finance, or underwrite a project in one of Iran's economic sectors.

* according to Department of Treasury sources, targeted financial measures are “directed
specifically at individuals, key regime members. front companies, and financial
institutions.” Targeted financial measures are aimed at “conduct” not a country. Some of
these targeted measures require financial institutions to freeze funds and close the
accounts of designated actors, effectively denying these actors access to the traditional
financial system.

** additional Designation of Entities Pursuant to Executive Order 13382, 72 Fed. Reg. 7,919
(Feb. 21, 2007).

Iranian Transaction Regulations, 71 Fed. Reg. 53,569 (Sept. 12. 2006).

* According to Treasury officials, states engaged in sanctionable activities have been
subject to sanctions and export control restrictions for decades and have adopted a variety
of evasive techniques.

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Experts and Officials
Recognize that Sanctions Have
Other Broad Impacts

Iranian government activities. Further, in 2006, a Treasury official testified
that stopping money flows to Iran is particularly challenging because the
Iranian government draws upon a large network of state-owned banks and
parastatal companies that is difficult to penetrate.

State and Treasury officials further reported that the effects of U.S.
financial sanctions have been augmented because several large European
banks, responding to U.S. diplomatic efforts, have curtailed their business
with sanctioned Iranian entities and are refraining from conducting dollar
transactions with Iran. At least 7 of the banks that have limited or ended
their dealings with sanctioned Iranian entities rank among the 20 largest
European banks.* U.S officials also report that a number of governments,
including France, Germany, Italy, and Japan, are beginning to reduce their
export credits” for goods shipped to Iran." U.S. officials have contended
that such developments have made it increasingly difficult for Iran to
execute important financial transactions necessary for Iran's domestic
energy and other projects. U.S. agency officials and experts also have cited
the increased costs” to Iran of obtaining finance and goods, sometimes
resulting in inferior component parts. State officials assert that as more
countries limit their financial interactions with Iranian entities and
individuals engaging in suspect activities, these parties have been denied
access to major financial and commercial systems.

U.S. officials and sanction experts state that sanctions have other broad
impacts. For example, State officials stressed that U.S. sanctions serve as
a clear symbolic statement to the rest of the world of U.S. concerns

“These seven banks are HSBC (UK). UBS (Switzerland), Barclays (UK), Société Général
(France), ABN (Netherlands), Standard Chartered (UK). Deutsche Bank (Germany).

an export credit is a loan to the buyer of an export, extended by the exporting firm when
shipping the good prior to payment, or by a facility of the exporting country’s government.
In the latter case, by setting a low interest rate on such loans, a country can indirectly
subsidize exports. An export credit guarantee is a governmment-sponsored credit guarantee
for commercial financing of exports, often to protect a country's exporters against
potential loss due to nonpayment by foreign buyers.

“according to a Treasury official, “Iran is one of the largest beneficiaries of official export
credits and guarantees, with $22.3 billion in exposure reported by OECD countries as of the
end of 2005.” Exposure means that the countries that provided export credit guarantees are
now vulnerable, or responsible. for the payment should something go amiss with the
exports. such as the foreign buyer not paying.

"In early 2006. the OECD raised Iran’s risk rating, and the IMF reported in its 2007 Article
IV consultation with Iran that Iran's sovereign debt was downgraded by Fitch due to
perceived increase in country risk.

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regarding Iran's proliferation and terrorism-related activities. State

officials also noted that sanction laws can be used as a vehicle for dialogue
with foreign companies or countries, and the prospect of sanctions can .
encourage foreign parties to end their interactions with Iran. Finally, U.S.
officials have stated that publicly identifying entities and listing them in

the Federal Register may deter other firms from engaging in business with
sanctioned entities.”

Iran Halted Its Nuclear
Weapons Program but
Continues to Enrich
Uranium, Acquire
Advanced Weapons, and
Support Terrorism

The extent of the sanctions’ impact in deterring Iran from proliferation
activities, acquiring advanced weapons technology, and support for
terrorism is unclear. Although Iran halted its nuclear weapons program, it
continues to enrich uranium, acquire advanced weapons, and support
terrorism. According to the November 2007 U.S. National Intelligence
Estimate, Iran halted its nuclear weapons program in the fall of 2003.
According to the estimate, Iranian military entities were working under
government direction to develop nuclear weapons. However, Iran halted
the program because of international scrutiny and pressure resulting from
exposure of Iran's previously undeclared nuclear activities. (See app. II
for a timeline of UN and international actions with regard to Iran’s
enrichment activities.)

Although it has halted its nuclear weapons program, Iran continues its
uranium enrichment program. While enriched uranium can be used for
nuclear weapons, Iran has stated that its program is for peaceful civilian
purposes. The Director General of the International Atomic Energy
Agency” (IAEA) stated on September 17, 2007, that Iran had not
suspended its enrichment activities and continued to build its heavy water
reactor at Arak. This announcement followed a series of IAEA discoveries
about Iran's nuclear program. In 2002, the IAEA was informed of a
previously undeclared nuclear enrichment plant in Natanz and a heavy

“Treasury also posts information on its Web site and publishes designations in its Specially
Designated Nations list.

“The International Atomic Energy Agency (IAEA) is an independent agency affiliated with
the UN established in 1957 to control and promote the use of atomic energy. Currently, the
LAEA has safeguard agreements through the Treaty of the Non-Proliferation of Nuclear
Weapons with more than 150 member states.

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water plant in Arak.“ Subsequent IAEA inspections revealed that Iran had
made significant progress toward mastering the technology to make
enriched uranium.

Iran also continues to acquire advanced weapons technology, including
ballistic missile technology, according to Treasury. According to State
officials, Chinese entities supply certain dual-use items to Iran, including
some that U.S. officials believe could be used in support of Iran’s WMD,
ballistic and cruise missiles, or advanced conventional weapons programs.

The U.S. government also reports that Iran continues to support terrorism.
We have reported that Iran is one of several countries from which Islamic
extremism is currently being propagated.” In addition, according to State's
2006 Country Report on Terrorism, Iran continues to be an active state
sponsor of terrorism.* The report states that the IRGC and Ministry of
Intelligence and Security influence Palestinian groups in Syria and the
Lebanese Hizbollah to use terrorism in pursuit of their goals. The report
also noted that Iran provided guidance and training to select Iraqi Shi'a
political groups and weapons and training to Shi'a militant groups to
enable anticoalition attacks. In July 2007, officials of U.S. intelligence
agencies testified that Iran regards its ability to conduct terrorism
operations as a key element of its national security strategy.

U.S. Agencies Do Not
Assess the Overall Impact
of Sanctions and Lack
Data on Sanction Results

U.S. agencies do not assess the overall impact of sanctions in deterring
Iran’s proliferation, acquisition of advanced weapons technology, or
terrorism-related activities, noting the difficulty of isolating the impact of
sanctions from all other factors that influence Iran’s behavior. In addition,
except for Treasury assessments of financial sanctions, agencies do not
possess data on the direct results of sanctions, such as the types of goods

"Tn the Arak heavy water plant, heavy water is extracted from regular water by replacing
the hydrogen atom with the deuterium isotope. It is used in certain types of nuclear
reactors where plutonium is bred from natural uranium. Plutonium is used in nuclear
weapons and for nuclear power production.

"GAO, International Affairs: Information on U.S. Agencies’ Efforts to Address Islamic
Extremism, GAO-05-852 (Washington, D.C.: Sept. 16, 2005).

"ty 1984, the Secretary of State designated Iran as a state sponsor of terrorism for its
repeated support for acts of international terrorism. The effects of this designation include
restrictions on U.S. foreign assistance, a ban on defense exports and sales, certain controls
over exports of dual-use items, and various financial restrictions.

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Agency Officials Cite
Difficulties Measuring the
Overall Impact of Sanctions on
Tran

seized that violate the trade ban or the subsequent behavior of parties that
sell prohibited goods to Iran.

State, Treasury, and Commerce officials said that they do not measure the
overall impact of sanctions they implement. For example, both State and
Treasury officials emphasized that, with one exception regarding one
sanction law, they have not attempted to measure the ability of U.S.
sanctions to deter Iran's proliferation or terrorism-related activities. State
officials stated it is not possible to isolate the impact of sanctions from all
other factors that influence Iran’s behavior, such as the actions of other
countries. Further, State officials reported that sanctions are just one
component of U.S. efforts to influence Iran’s behavior.

Treasury officials conduct classified assessments of entities designated
under Executive Orders 13382 and 13224, but report that they do not
assess the overall impact of sanctions, stating it can be difficult to
differentiate the impact of various U.S. efforts. For example, it is difficult
to know where the effects of U.S. diplomacy end and the effects of U.S.
sanctions begin. State and Treasury officials noted that, while the goal of
sanctions is to change Iran's behavior, such changes take time, and it is
not possible to track how sanctions imposed today might affect overall
behavior in the future. Such an exercise would be extremely difficult due
to the challenges associated with establishing any causal linkage between
U.S. sanctions and Iran's subsequent behavior. In addition, agency officials
noted that the sanctions targeting Iran do not constitute a separate
program or line of effort; thus, these activities are not monitored or
assessed separately. However, according to Treasury officials, sanctions
implemented by OFAC constitute a separate program with its own set of
regulations (the Iranian Transaction Regulations) and OFAC does focus
specific effort on Iran sanctions. Finally, Treasury and Commerce officials
stated that it would be difficult to measure either the deterrent impact of
sanctions or, conversely, the extent to which illegal or sanctionable
activities continue undetected.

In 2004, State completed a review of the Iran Sanctions Act (then known
as the Iran-Libya Sanctions Act). The ILSA Extension Act of 2001 required
the President to provide Congress with a report describing the extent to
which the act had been effective in denying Iran the ability to support acts
of international terrorism and fund the acquisition of WMD by limiting
Iran’s ability to develop its petroleum resources.” This report stated that

“ILSA Extension Act of 2001, Pub. L. No. 107-24, § 3, 115 Stat. 199.

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Agencies Lack Data on Direct
Sanction Results

actions taken pursuant to the act had a “modest positive impact.” The 2004
report is the only formal assessment U.S. agencies have completed on the
broad impact of sanctions against Iran.

In addition, agency officials do not possess data on the direct results of
sanctions. For example, regarding the trade ban, officials from DHS’s
Customs and Border Protection reported that inspectors are not required
to document whether or not a given seizure is related to the ban. As a
result, they are unable to provide complete data on the volume or nature
of goods seized that violate this ban. Further, although Treasury posts on
the Internet its OFAC administrative penalties, it does not compile
information regarding the number of cases that involve violations of Iran
sanctions (we were able to identify such cases after reviewing more than
400 detailed case descriptions) and the nature of such violations. FBI
officials said that, within their counterintelligence division, they classify
investigations by country of origin but would not be able to distinguish
cases involving Iran sanctions from other Iran-related cases because the
bureau's automated data systems do not include such information. In
addition, complete DHS/ICE data on Iran sanctions cases are not available
because ICE agents are not required to document the country of
destination when opening a case, nor is this information always
subsequently added as the case progresses. Further, a Justice official
stated that the department prosecutes and organizes its cases by statute
and does not classify its cases by the specific country or nationality of the
individual involved in its data system. It is thus not possible to identify
cases specific to the trade and investment ban with Iran. In addition,
although agencies cite transshipment as a key means of evading the trade
ban, they do not collect data that would help illustrate the magnitude of
the problem.

Further, State does not review whether sanctions imposed under the law
currently known as the Iran, North Korea, and Syria Nonproliferation
Act—the law used most frequently to sanction foreign parties—stop
sanctioned parties from engaging in proliferation activities with Iran or are
relevant for these parties. The law does not require such a review. State
officials said that, while they are aware of instances where proliferation
activities ended following the imposition of sanctions on particular firms,
such information is primarily collected on an anecdotal basis. There has
been no overall or systematic review of whether sanctioned entities ended
their proliferation activities, though State officials indicated that they
monitor the activities of sanctioned parties as part of their daily
responsibilities. Further, these officials emphasized that State must apply
the sanctions established by law, such as a prohibition on participating in

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Iran’s Global Trade
Ties Limit U.S.
Sanction Influence on
Iran’s Behavior; UN
Sanctions Have
Recently Been
Imposed

U.S. government procurement opportunities, regardless of their relevance
or potential impact. State officials acknowledged the likelihood that the
sanctions established by law may have limited relevance for sanctioned
parties, which may be illustrated in cases where the same parties are
sanctioned repeatedly for proliferation activities with Iran.

In addition, OFAC does not compile data on the value of assets frozen
pursuant to targeted financial sanctions. OFAC tracks information on
assets frozen in the aggregate, not by the amount of assets frozen for each
particular party that is sanctioned. OFAC also did not have information
regarding the number of parties sanctioned under Iran-related
antiterrorism financial sanctions. According to OFAC, systematically
tracking these data and information is not a useful measure of the efficacy
of sanctions.

Iran’s global trade ties and leading role in energy production make it
difficult for the United States to isolate Iran and deter its acquisition of
advanced weapons technology and support for terrorism. First, Iran’s
trade with the world—both imports and exports—has grown since the
U.S. trade ban began in 1987. Although trade has fluctuated from year to
year, most of the growth has occurred since 2002, coinciding with the rise
in oil prices. This trade includes imports of weapons and nuclear
technology. Second, global interest in purchasing and developing Iran’s
substantial petroleum reserves has kept Iran active in global commerce.
Iran's integration in the world economy has complicated U.S. efforts to
encourage other countries to isolate Iran: however, multilateral efforts
targeting Iran have recently begun. Beginning in December 2006, the
UNSC adopted sanctions against Iran in response to Iran’s noncompliance
with its international obligations. These sanctions are still being
implemented.

Iran’s Strong Global Trade
Makes It Difficult for U.S.
Sanctions to Pressure Iran

Iran’s Trade with the United
States Decreased Substantially
Following the Imposition of the
Trade Ban

Over the past 20 years, U.S. trade with Iran has decreased, but Iran's trade
with the rest of the world has increased, in large part due to increases in
oil prices between 2002 and 2006. Asian countries, particularly China, are
increasing their trade with Iran. Countries such as China and Russia
continue to provide Iran with sensitive goods.

U.S. trade with Iran declined sharply immediately following the adoption
of both the 1987 U.S. ban on imports from Iran and the 1995 ban on U.S.
exports to and investment in Iran. However, U.S exports to Iran
rebounded to some degree when the sanctions were eased in 2000. Before

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Iran's Overall Trade Has Grown
Since 1987, and Its Trading
Partners Are Diverse

the 1987 U.S. import ban, 16 percent of Iran's total exports, primarily oil,
were shipped to the United States. Following the ban, this share dropped
to about .1 percent. According to our analysis of U.S. trade data, Iran
exported $2 billion in goods to the United States in 1987, about $10 million
in 1988, and less than $1 million annually for most of the 1990s." Further, 2
percent of Iran’s imports were from the United States before the export
ban in 1995; this dropped to almost zero after the ban. Total U.S. exports
to Iran declined from about $282 million in 1995 to less than $400,000 in
1996. By 2000, however, total U.S.-Iran trade had increased to about $218
million, largely as a result of the relaxation of the sanctions in that year to
allow for the purchase and import of Iranian carpets. In 2006, total U.S.-
Iran trade was $247 million.

Our analysis of U.S. trade data indicates that both the export and import
declines coincided with significant changes in the types of goods traded.
For example, the top U.S. exports to Iran prior to the 1995 export ban
were in the UN trade category “nuclear reactors, boilers, and machinery,”
while the top exports immediately following the ban were in the category
“printed books and other informational materials.” In 2006, the top U.S.
exports to Iran were pharmaceuticals and tobacco products. The top U.S.
import from Iran before the 1987 import ban was oil, whereas the top
import immediately following the ban—and also in 2006—was carpets and
other textile floor coverings.

Despite the ban of Iranian imports to the United States in 1987 and the ban
on U.S. exports to Iran in 1995, Iran's overall trade has grown.” From 1987
through 2006, Iran's exports grew from $8.5 billion to $70 billion, while
Iran's imports grew from $7 billion to $46 billion (see fig. 2).” The annual
real growth in Iran’s exports between 1987 and 2006 was nearly 9 percent;
however, the export growth rate between 2002 and 2006 was 19 percent,
reflecting the steep rise in oil prices since 2002 (see fig. 2)." Iran’s imports

“We are reporting U.S. trade statistics from the Department of Commerce in 2006 dollars.

“Ojil-related exports average approximately 80 percent of Iran’s total exports.

“We are reporting global trade data in constant 2006 dollars. This reflects the real value of
Iran’s trade. (See app. I for further explanation regarding the method used to adjust the
nominal trade figures reported by the IMF into 2006 dollars).

“\Growth rates are calculated using ordinary least square, which takes into account the
value of trade for each year over the designated time period, calculates the slope of the
best fitting regression line. and ensures that extreme changes in a single year do not give a
distorted average growth rate for the period.

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grew at an average annual rate of about 7 percent between 1987 and 2006.
Iran's exports and imports both fluctuated during this period. For
example, Iran’s imports increased significantly following the end of the
{ran-Iraq war in 1988, followed by steep declines from 1993 to 1994,
following Iran’s major currency devaluation (over 1,800 percent).
Likewise, Iran's exports fluctuated. The growth in L[ran’s exports from 1989
to 1993 was followed by a general decline through 1998. Exports grew
dramatically from 2002 to 2006, coinciding with the rise in the price of oil
from $25 to $65 a barrel. The overall growth in Iran's trade from 1986 to
2006 demonstrates the limits of the U.S. trade ban to isolate Iran and
pressure it to reduce its proliferation activities and support for terrorism.

Figure 2: lran’s Total Exports and Imports, 1986-2006

Billions of 2006 dollars
80

70

Annual export
‘growth rate
1987-2006: 8.6%

60

30 = 1987 U.S. ban on
imports from tran

Annual import
growth rate
1987-2006: 7.0%

1995 U.S. ban on
U.S exports to Iran

1986 1987 1988 1989 1990 1991 1992

1903 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006

Source: GAO ysis of IMF Direction of Trade Statistics, May 2007.

Note: fran’s trade figures are provided in constant 2006 dollars using an alternative exchange rate
developed by the World Bank (see app. |).

Figure 2 shows that in the year following the 1987 U.S. ban on Iranian
imports, Iran's exports to the world did not decline. In fact, Iran's exports
began growing dramatically in 1989. In the 2 years following the 1995 ban
on U.S. exports to Iran, Iran’s imports from the world grew, and have
generally continued to grow. Iran has been able to readily replace the loss
in U.S. trade through trade with other countries, and the total value of
Iranian imports and exports has continued to grow largely uninterrupted.

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In addition to the overall growth of Iran's trade since 1987, [ran has
extensive global trade ties with Europe and the developing world. In
particular, trade with Asian countries has nearly doubled since 1994.”
Asian countries accounted for 30 percent of Iran's exports in 2006, up from
about 16 percent in 1994. [ran’s exports to China increased from about 1
percent in 1994 to about 13 percent in 2006. Japan and China were the top
two recipients of exports from Iran, together accounting for more than
one-quarter of Iran's exports in 2006 (see table 2).

Table 2: Iran’s Top Export Markets, by Country, 1994 and 2006

Millions of 2006 dollars

1994 2006

Dollar Share of lran’s Share of Iran’s
Country amount total exports Country Dollar amount total exports
Japan $5,632 15.1% Japan $9,941 14.2%
United States 5,184 13.9 China 9,194 13.1
United 3,427 9.2 Turkey 5,112 7.3
Kingdom
Germany 2,303 6.2 Italy 4,451 6.3
Korea 1,776 4.8 Korea 4,040 5.8
Turkey 1,656 4.4 Netherlands 3,263 4.6
UAE 1,493 4.0 South Africa 2,710 3.9
Italy 1,452 3.9 France 2,710 3.9
Greece 1,349 3.6 Spain 2,275 3.2
Singapore 1,344 3.6 Greece 2,066 2.9
All other 11,600 31.2 Ail other 24,420 34.8
Total $37,217 100.0 Total $70,181 100.0

Source: GAO analysis of IMF Direction of Trade istics, May 2007.

Note: Percentages may not add to 100 due to rounding.

Iran’s growing trade with China has played a large role in replacing the
declining share of EU countries’ trade with Iran over the past decade and
contributing to Iran's growing trade with Asian countries. In 2006, the EU

"In 1994, EU countries received one-third of Iran's exports and provided 50 percent of
Iran's imports. At the same time, developing countries’ share of trade with Iran has
increased from 32 percent of Iran’s exports in 1994 to 47 percent in 2006, and from 34
percent to 60 percent of Iran’s imports over the same period, due in large part to growth of
trade with China, India, Korea, and other Asian countries.

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accounted for nearly one-quarter of Iran's exports to the world, down from
33 percent in 1994. Germany and the United Kingdom were part of this
decline. From 1994 to 2006, Iran’s exports to Germany declined from about
6 percent to less than 1 percent and from about 9 percent to less than 1
percent for the United Kingdom.

In 2006, Germany and China were Iran's largest providers of imports,
accounting for 23 percent of Iran’s imports. Although Germany has
remained the largest supplier of imports to Iran for over a decade, its share
of Iran’s imports has declined from about 19 percent in 1994 to 12 percent
in 2006, while Iran's imports from China increased from about 1 percent in
1994 to about 11 percent in 2006 (see table 3). Iran increased its imports
from Middle East countries from about 8 percent to 13 percent. with
UAE's share increasing from over 5 percent in 1994 to about 9 percent in
2006.

Table 3: tran’s Top Import Suppliers, by Country, 1994 and 2006

Millions of 2006 dollars

1994 2006

Dollar Share of Iran's Dollar Share of Iran’s
Country amount total imports Country amount total imports
Germany $4,231 18.7% Germany $5,631 12.3%
Italy 1,931 8.5 China 5,020 11.0
Japan 1,712 7.6 UAE 3,972 8.7
Belguim-Luxembourg 1,246 5.5 Korea 2,908 6.4
UAE 1,239 5.5 France 2,615 5.7
United Kingdom 1,041 4.6 Italy 2,537 5.6
France 917 4.1 Russia 1,680 3.7
Azerbaijan 751 3.3 India 1,616 3.5
United States 665 2.9 Brazil 1,315 2.9
Korea 612 2.7 Japan 1,287 2.8
All other 8,243 36.5 All other 17,041 37.4
Total $22,588 100.0 Total $45,624 100.0

Source: GAO analysis of IMF Drection of Trade Statistics, May 2007.

Note: Percentages may not add to 100 due to rounding.

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Other Countries Continue to
Provide Weapons and Nuclear
Technology to Iran

A regional shift in Iran’s import suppliers also took place between 1994
and 2006. The EU’s share of Iran’s imports from the world declined from
50.5 percent in 1994 to slightly over one-third of Iran’s imports in 2006,
while Asian countries’ share has tripled, from 9 percent to 27 percent.

Other countries’ exports to Iran include dual-use or sensitive goods, such
as arms, aircraft, and nuclear equipment and technology—goods that the
U.S. statutorily prohibits from export to Iran. For example, according to
UN trade data, Russia and Spain exported $28.9 million of nuclear reactor
parts from 2004 to 2005, over 89 percent from Russia. Iran also acquired
spare parts to U.S.-made fighter jets, parts that were sold to other
countries as surplus.“ According to State officials, Chinese entities supply
certain dual-use items to Iran, including some that U.S. officials believe
could be used in support of Iran’s WMD, ballistic missile, cruise missiles,
or advanced conventional weapons programs. According to a CRS report™
and the testimony from U.S. intelligence agencies, Iran is becoming self-
sufficient in the production of ballistic missiles, largely with foreign help.
Iran is also an important customer for Russia’s weapons and civil nuclear
technology. Additional information detailing Iran’s purchases of weapons
and nuclear technology is classified.

Iran’s Prominent Oil-
Producing and Exporting
Role Limits the Impact of
Sanctions

Demand for Iranian crude oil, coupled with high oil prices, helps support
Iran’s economy and limits the effects of the U.S. trade ban. Iran is a
prominent world oil producer, and its economy relies heavily on oil export
revenues. Iran ranked fourth in terms of world oil production and exports
in 2005, exporting about 2.6 million barrels of oil per day. Iran has the third
largest proven oil reserves and the second largest reserves of natural gas
worldwide,” according to the Oil and Gas Journal. Oil export revenues
represent nearly 80 percent of Iran’s total merchandise export earnings
and accounted for about 19 percent of Iran’s GDP in 2004.

“GAO, Sales of Sensitive Military Property to the Public, GAO-07-929R (Washington, D.C.:
July 6, 2007).

“ORS, Iran: U.S. Concerns and Policy Responses, RL32048, Ken Katzman (Washington,
D.C.: June 2007).

* According to the Oil and Gas Journal, Russia has the largest reserves of natural gas in
the world.

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In 2005, Japan and China accounted for 27 and 14 percent of Iran’s crude
oil exports, respectively, as shown in table 4.

ee
Table 4: Top Iranian Crude Oi! Export Destinations and Country Share, 2005

Country Share of lran’s crude oil exports
Japan 27.3%
China 14.4
ltaly 9.0
South Korea 8.9
France 7.0
Turkey 6.5
South Africa 6.1
Greece 5.0
Spain 47
Philippines 2.8
All other countries 8.2
Total 100.0

Source: GAO analysis of UN Trade Statistics, Iran's exports of oil (commodity grouping, HS2709), other countnes reporting, 1989-2005.

Note: Percentages may not add to 100 due to rounding.

Given the strong demand for Iranian crude oil, bolstered by continuing
support for Iran's non-oil exports, several private sector and U.S.
economic experts stated that lran’s near-term growth prospects look
favorable. However, a sharp drop in oil prices is a risk, and, according to
the IMF, a further escalation of tensions associated with nuclear issues
would adversely affect investment and growth.” Another concern is Iran's
growing gasoline consumption, which is heavily subsidized by the
government. According to the Department of Energy, Iran is the second
largest importer of gasoline in the world after the United States and has a

Japan's and China's Iranian crude oil imports comprised 12.6 and 11.1 percent,
respectively, of these countries’ total crude oil imports in 2005. Also of note, Turkey, South
Africa, Greece, and the Philippines obtained more than 25 percent of their crude oil
imports from Iran.

"To assess the impact of future oil prices on the Iranian economy, the IMF and Iranian
officials constructed a medium term budget and economic model. Assuming the agreed
upon budget reforms will be implemented, the economy can achieve an annual average
growth rate of 4.5 percent over the 2007-2008 to 2011-2012 period and a fully financed
budget if average long-term oil prices are $65 per barrel. If long-term oil prices fall below
$55 per barrel, the budget and implied growth rates would not be sustainable.

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shortage of refining capacity to produce gasoline.~ In 2006, as part of the
Iranian government's effort to recluce the subsidy on gasoline, the
government raised the price of gasoline 25 percent and introduced “smart
cards” in an effort to deter gas smuggling, reduce gasoline shortages, and
improve the budget situation.” In addition, according to economic experts,
Iran has benefited from strong growth in non-oil exports in recent years.”
Non-oil exports increase the resiliency of Iran’s economy and mitigate its
vulnerability to falling oil prices, as well as provide jobs. As part of the
government's policy to move away from crude oil exports, Iran is
expanding its petrochemical production capacity and moving toward
export of petrochemical products.”

UN Established
Multilateral Sanctions
against Iran in 2006

Multilateral efforts targeting Iran resulted in the imposition of UN
sanctions in 2006 as a result of concerns that Iran's nuclear program might
contain a weapons-related component. In July 2006, UNSC resolution 1696
demanded that Iran suspend its uranium enrichment program by August
2006 or face possible sanctions.” Iran did not suspend these activities, and
in December 2006, the UNSC unanimously approved UNSC resolution
1737.* This resolution prohibits UN member states from supplying Iran

*® according to one energy expert, Iran is in the midst of a major country-wide refinery
expansion and upgrade program, and there is also a push to process more of its expected
condensate supplies and at least partially reduce its gasoline dependence.

Smart cards were introduced as a means to limit drivers’ consumption of subsidized
gasoline.

“According to economic experts and Iranian country authorities, Iran has experienced a
rapid increase in non-oil exports in the last decade. More recently, however, Iran has taken
steps to diversify and promote non-oil exports. According to academic researchers, non-oil
exports as a percentage of total exports were just over 3 percent in 1979. In 2000, the last
year for which data are available, non-oi! exports stood at almost 27 percent of total
exports. In addition to petrochemical products, non-oil exports includes carpets, fresh and
dried fruits. detergents and soaps, chemical products, ready-made clothes, metallic mineral
ores, iron, and steel.

*'Petrochemicals are a large group of chemicals derived from petroleum and natural gas,
which are used for a variety of commercial purposes. The term petrochemicals refers to
feedstocks-the chemicals used in petrochemical plants and the finished products made
from feedstocks. Petrochemical products include common items such as plastics. soaps
and detergents, solvents, fertilizers, rubbers, paints, drugs. rocket propellants, and
synthetic fibers. Petrochemicals are also found in products as diverse as aspirin, luggage,
surfboards, carpets, and phonograph records.

86 C. Res. 1696, U.N. SCOR, 61st Sess., U.N. Doc. S/RES/1696 (2006).
“UN. Doc. S'RES/1737.

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with the nuclear and missile-related materials or technology specified in
the resolution, as well as any other items that would contribute to
proliferation-sensitive nuclear activities or the development of nuclear
weapon delivery systems. In addition, UN member states are required to
freeze the financial assets and other economic resources of individuals
and entities designated by the UNSC as having ties to Iran’s nuclear or
ballistic missile programs. Further, the resolution provides for a ban on
the provision of financial services related to the supply, sale, manufacture,
transfer or use of prohibited items specified in the resolution. Iran was
required to suspend its enrichment-related, reprocessing, and heavy water-
related activities and cooperate fully with the IAEA by February 2007 or
face possible additional sanctions.

The UNSC imposed further sanctions on Iran after the IAEA found that it
did not suspend its enrichment or heavy water-related activities. In March
2007, the UNSC passed resolution 1747," which banned arms exports from
Iran; called upon all UN member states to exercise restraint in sales to Iran
of certain categories of heavy conventional arms; designated additional
individuals and entities, including Bank Sepah and those affiliated with the
IRGC, as subject to the asset freeze requirement; and urged UN member
states and international financial institutions not to enter into new
commitments for financial assistance to the government of Iran, except for
humanitarian and developmental purposes. Resolution 1747 reaffirmed
Iran’s obligation to suspend its enrichment, reprocessing, and heavy water-
related activities and affirmed UNSC intentions to consider additional
sanctions should Iran fail to comply by May 2007. The IAEA Director
General confirmed Iran's failure to comply in its report of May 2007. State
officials noted that this report triggered ongoing consultations among six
countries regarding next steps, including the possible adoption of
additional sanctions.”

UNSC resolution 1737 established a sanctions committee charged with
monitoring implementation by UN member states of the measures
imposed under the resolution, including by reviewing required country
compliance reports. The State Department reported that, as of August
2007, the UNSC 1737 Sanctions Committee had received reports from 82

“UN. Doc. S/RES/1747.

“These six countries are the United States, the United Kingdom, France, China, Russia, and
Germany.

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UN member countries (43 percent) on resolution 1737 and reports from 64
UN member countries (33 percent) on resolution 1747.

U.S. officials have stated that UN sanctions enhance the international
credibility of U.S. sanctions and provide leverage to increase pressure on
Iran. State officials have noted that multilateral sanctions enhance the
potential effectiveness of U.S. sanctions. Since UN sanctions have been in
place for about a year, it is difficult to assess their impact.

Conclusion

For the past 20 years, U.S. sanctions against Iran have been an important
element of U.S. policy to deter Iran from weapons proliferation and
support for terrorism. Congress is considering additional sanctions
targeting Iran. UN sanctions may also play an important role in pressuring
Iran, but these sanctions have not yet been fully implemented. However,
the overall impact of sanctions, and the extent to which these sanctions
further U.S. objectives, is unclear. On the other hand, some evidence, such
as foreign firms signing contracts to invest in Iran's energy sector and
Iran's continued proliferation efforts, raise questions about the extent of
the sanctions’ impact. Moreover, U.S. agencies do not systematically
collect information on the direct results of the multiple sanctions they
implement, or their data do not provide specific information on Tran
sanctions. These agencies have not conducted a baseline assessment of
the impact of the sanctions. Collecting data on the results of multiple
sanctions against Iran and conducting an overall baseline assessment is
challenging, given all the agencies involved and the complexities of
collecting some of the necessary information. However, without an overall
assessment of the sanctions’ impact and subsequent reviews on a periodic
basis, the Congress and the Administration will continue to lack important
information for developing effective strategies to influence Iran’s behavior.

Matter for
Congressional
Consideration

Congress and the Administration need a better understanding of the
impact of U.S. sanctions against Iran and the extent to which sanctions are
achieving U.S. foreign policy objectives. The Administration needs to take
a series of actions to first improve the disparate data collected on Iran
sanctions and then establish baseline information for the continuous
monitoring and periodic reporting on what U.S. sanctions have achieved.
Accordingly, we recommend that Congress consider requiring the NSC, in
collaboration with the Departments of State, the Treasury, Energy, and
Commerce; the intelligence community; and U.S. enforcement agencies to
take the following actions:

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Agency Comments
and Our Evaluation

(1) collect, analyze, and improve data on U.S. agencies’ actions to enforce
sanctions against Iran and complete an overall baseline assessment of the
impact and use of U.S. sanctions, including factors that impair or
strengthen them. This assessment should collect information, to the extent
feasible, from various U.S. agencies and consider factors such as, but not
limited to, the following:

the number of goods seized, penalties imposed, and convictions obtained
under the trade ban (Homeland Security, Treasury, Commerce, Justice);

sensitive items diverted to Iran through transshipment points (Commerce
and the intelligence community);

the extent to which repeat foreign violators of Iran-specific sanctions laws
have ended their sales of sensitive items to Iran (State and intelligence
community);

the amount of assets frozen resulting from financial sanctions (Treasury
and the intelligence community); and

the extent of delays in foreign investment in Iran's energy sector (State,
Energy, and the intelligence community).

(2) develop a framework for assessing the ongoing impact of U.S.
sanctions, taking into account any data gaps that were identified as part of
the baseline assessment , and the contribution of multilateral sanctions.

(3) report periodically to the Congress on the impact of sanctions against
lran in achieving U.S. foreign policy objectives.

We provided a draft of this report to the Departments of State, the
Treasury, Commerce, Defense, Energy, Justice, and Homeland Security.
We also provided a draft to the NSC and the Office of the Director of
National Intelligence (ODNI). The Department of the Treasury provided a
formal response emphasizing that, as a result of financial pressure, Lran is
experiencing increasing isolation from the global community. The
department's response also states that Iran continues to pursue nuclear
capabilities and ballistic missile technology and to fund terrorism. This
comment reinforces our finding that the overall impaci of sanctions is
unclear. In addition, the Treasury noted its assessments of the
effectiveness of financial sanctions. We revised the report to recognize
that Treasury assesses the impact of financial sanctions but maintain that

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an overall impact assessment of all U.S. sanctions has not been
undertaken. Finally, Treasury commented that the amount of assets
blocked under available financial sanctions is not a measure of the
program’s value. The department also noted that other sanction effects,
such as the inability of designated parties to use the U.S. financial system
or the reputational harm that stems from a designation, can often be the
primary way sanctions have an international impact. We have noted the
broad positive benefits of sanctions in our report. Treasury also told us in
an earlier communication that it did not disagree with the part of our
Matter for Congressional Consideration calling for an assessment of assets
frozen using these financial tools. Treasury’s letter can be found in
appendix V.

The Departments of State, the Treasury, Commerce, and Energy provided
written technical comments. We incorporated these comments into the
report as appropriate. The Department of Commerce submitted its
technical comments in a letter that is included in appendix V1. The NSC
provided brief oral comments and ODNI provided a classified response;
we considered this information and revised the report as appropriate. The
Departments of Defense, Justice, and Homeland Security provided no
comments on the draft report, though Homeland Security supported the
part of our Matter for Congressional Consideration that specifically
involves the department.

As agreed with your office, unless you publicly announce the contents of
this report earlier, we plan no further distribution until 30 days from the
report date. At that time, we will send copies to other congressional
offices as well as the Departments of State, the Treasury, Commerce,
Defense, Energy, Justice, and Homeland Security. Further, we will provide
copies to the NSC and the Office of the Director of National Intelligence.
We will also make copies available to others on request. In addition, this
report will be available on GAO's Web site at http://www.gao.gov.

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If you or your staff have any questions about this report, please contact me
at (202) 512-8979 or at christoffj@gao.gov. Contact points for our Offices
of Congressional Relations and Public Affairs may be found on the last
page of this report. Other contacts and major contributors are listed in
appendix VII.

Sincerely yours,

cyl A Cail

Joseph A. Christoff
Director, International Affairs and Trade

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